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 3   Attorney for Defendant Sartaj Chahal
 4

 5
                                 IN THE UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
                                                   )   Case No.: 2:09-cr-00125-FCD
     UNITED STATES OF AMERICA,                     )
 9
                                                   )   STIPULATION AND ORDER TO
                    Plaintiff,                     )   CONTINUE JUDGMENT AND
10
                                                   )   SENTENCING
            vs.                                    )
11
                                                   )   Date:  May 23, 2011
     SARTAJ CHAHAL,                                )   Time: 10:00 a.m.
12
                                                   )   Judge: Hon. Frank C. Damrell, Jr.
                                                   )
13                  Defendant.
14

15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Judgment
16   and Sentencing scheduled for March 28th, 2011 at 10:00 a.m. is continued to May 23rd, 2011 at
17   10:00 a.m. in the same courtroom. Jason Hitt, Assistant United States Attorney and Thomas A.
18   Johnson, Defendant’s attorney, are requesting such continuance in order to review of discovery
19   and preparation of counsel. The Defendant has just switched counsel and Mr. Johnson needs
20   time to review the case.
21

22          IT IS SO STIPULATED.
23   DATED: March 23rd, 2011                             By:    /s/ Thomas A. Johnson_____
                                                                THOMAS A. JOHNSON
24                                                              Attorney for Defendant
                                                                SARTAJ CHAHAL
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     DATED: March 23rd, 2011                         BENJAMIN WAGNER
 1                                                   United States Attorney
 2                                             By:    /s/ Jason Hitt_______
                                                     JASON HITT
 3                                                   Assistant U.S. Attorney
 4

 5

 6         IT IS SO ORDERED.
 7
     Dated: March 23, 2011                _______________________________________
 8                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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